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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WILLIAM H. RICHARD,                             )
                                                )
                      Plaintiff,                )
                                                )   No. 17 C 4677
              v.                                )
                                                )   Hon. Judge Thomas M. Durkin
JOHN R. BALDWIN, Director of the Illinois       )
Department of Corrections, RANDY                )   Hon. Mag. Judge Jeffrey Cole
PFISTER, Warden, and RICARDO TEJEDA,            )
Assistant Warden,                               )
                                                )
                      Defendants.               )


 DEFENDANT RANDY PFISTER’S MOTION TO DISMISS PLAINTIFF’S AMENDED
              COMPLAINT UNDER FED. R. CIV. P. 12(b)6


       The Defendant Randy Pfister by and through his attorney, Lisa Madigan, Illinois Attorney

General submits the following memorandum in support of their Motion for Dismissal under

Federal Rule of Civil Procedure 12(b)(6):


                                     I.      Introduction

       Plaintiff William H. Richard, a prisoner at Dixon Correctional Center (“Dixon”), filed a

pro se two-count complaint alleging deliberate indifference to the unconstitutional conditions of

his confinement and violations of the Americans with Disabilities Act (“ADA”) and the

Rehabilitation Act related to his time incarcerated at Stateville’s Northern Reception and

Classification Center (“NRC”). See Court’s Merit Review, ECF No. 10 at 2-3. He found counsel

and was given leave to file an Amended Complaint. The Amended Complaint names Randy Pfister

(“Warden Pfister”), John Baldwin, and Ricardo Tejeda as defendants. Amended Complaint (“AC”)

at ¶¶ 6-8. Counts I and II are based on the ADA and Rehabilitation Act and are against Defendant


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Baldwin only. Counts III and IV are Eighth Amendment claims for Denial of Adequate Medical

Care and Conditions of Confinement. Counts III and IV appear to be against all Defendants.

Plaintiff has not alleged personal involvement by Warden Pfister, thus Randy Pfister moves to

dismiss Counts III and Counts IV against him.


                                       II.     Background

       Plaintiff arrived at NRC in June of 2015. “AC” at ¶ 12. Plaintiff’s Amended Complaint

lists a number of medical conditions that he has, including chronic obstructive pulmonary

disease, emphysema, asthma, heart disease, and diabetes. AC at ¶ 9-11. Plaintiff uses compressed

air at all times, a CPAP machine at night, and a wheelchair for ambulation. AC at ¶ 9, 11.

Plaintiff alleges that he was denied 15 of the 22 medications prescribed to him prior to his entry

into the Illinois Department of Corrections. AC at ¶ 22. He alleges that he was denied use of his

CPAP machine while he was at NRC which disrupted his sleep and increased his risk of

complications associated with his other medical conditions. AC at ¶ 23, 25. Plaintiff complains

that the manner in which his oxygen was provided was unhygienic, specifically because the

tubing ran along a dirty floor and because he was denied materials to properly sanitize the nasal

portion of his oxygen tube. AC at ¶ 27-28.

       Plaintiff also complains more broadly about the conditions of his confinement at NRC.

He alleges that his cell at NRC was filthy, poorly ventilated, and contained vermin. AC at ¶ 15,

18. He states that he stayed inside his cell for 24 hours a day without access to a yard or

dayroom. AC at ¶ 1, 14. Plaintiff complains of the heat in the summer and the cold in the winter

while having only one sheet, a blanket, and a metal-framed bed. AC at ¶ 17-18. Plaintiff also

alleges that his cell would flood from time to time and that he would have to remain in the

flooded cell while the water drained out. AC at ¶ 19. As a result of these conditions, Plaintiff

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alleges that he experienced both a persistent rash on his lower body and an exacerbation of his

medical conditions. AC at ¶ 20-21.

       Plaintiff alleges that Randy Pfister is the Warden of Stateville NRC and brings this claim

against him in his individual capacity. AC at ¶7. His sole allegation against Pfister is that as of

February 23, 2016, Pfister somehow knew that Plaintiff’s medical needs were not being met. AC

at ¶ 31. Plaintiff does not allege specifically what Warden Pfister knew or how he came to know

this. Id. Plaintiff simply states that the Warden knew “the restrictive and isolating conditions at

NRC are detrimental to any person’s well-being, especially, those of a medically fragile

individual like [Plaintiff].” Id. Yet, plaintiff does not state that he told Warden Pfister about these

things, nor does Plaintiff allege that the conditions were systemic.


                                         III. Standard of Review.

       The Court reviews a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), to determine

whether the allegations in the complaint are sufficient to state a cause of action upon which relief

may be granted. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The well-pleaded

allegations in the complaint are taken as true, and all reasonable inferences from those allegations

are construed in a light most favorable to the non-moving party. Ray v. City of Chicago, 629 F.3d

660, 662 (7th Cir. 2011); Bielanski v. County of Kane, 550 F.3d 632, 633 (7th Cir. 2008). The

question presented in a Rule 12(b)(6) motion to dismiss is whether the plaintiff has alleged facts

sufficient to state a cause of action that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Twombly, 550 U.S. at 570).




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                                          III.   Argument

          Plaintiff’s Eighth Amendment claims of denial of adequate medical care and conditions

of confinement should be dismissed against Warden Pfister because Plaintiff fails to allege

Warden Pfister’s personal involvement in the alleged violations.

          Liability under section 1983 requires a defendant’s direct, personal involvement in the

situation that causes injury to an inmate. Gentry v. Duckworth, 65 F.3d 555, 561 (7th Cir. 1995).

“[T]o be liable under Section 1983, the individual defendant must have caused or participated in

a constitutional deprivation.” Pepper v. Village of Oak Park, 430 F.3d 805, 810 (7th Cir. 2005).

Individual liability of a prison’s warden cannot be based upon the theory of Respondeat

Superior. Kinslow v. Pullara, 538 F.3d 687, 692 (7th Cir. 2008). Additionally, for the purposes

of a motion to dismiss, a warden cannot be assumed to be directly involved in the prison's day-

to-day operations. Steidl v. Gramley, 151 F.3d 739, 741 (7th Cir. 1998) citing, Duncan v.

Duckworth, 644 F.2d 653, 656 (7th Cir.1981). In order to state a claim against a Warden, the

Plaintiff must allege that the Warden was either personally involved in the violation of rights or

must complain of systemic conditions that would generally be known to the Warden. See Steidl

at 741.

          Plaintiff’s Amended Complaint does not allege systemic violations that would generally

be known by the Warden. Here, Plaintiff’s Complaint alleges that he was denied adequate

medical care for his medical conditions and that because of his medical conditions, the

environment at NRC was too restrictive and isolating. Plaintiff’s vague allegation against Pfister

lacks any basis for the Plaintiff’s belief that the Warden knew of this specific inmate’s plight and

does not sufficiently allege personal involvement. “[A]n inference that a warden is directly

involved in a prison’s daily operations is not reasonable.” Steidl v. Gramley, 151 F.3d 739, 742



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(7th Cir. 1998)( finding that plaintiff’s allegations that warden was responsible because he is

ultimately responsible for the daily operations of the prison did not sufficiently allege personal

involvement). Plaintiff’s Amended Complaint should be dismissed as to Warden Pfister because

Plaintiff has failed to allege that the Warden was personally involved in the alleged deprivation

of Plaintiff’s rights.

        WHEREFORE, for the reasons stated above, Defendant Randy Pfister respectfully

requests that this Honorable Court enter an order dismissing him from this cause of action and

for such other relief as the Court finds just and reasonable.



                                                      Respectfully submitted,
LISA MADIGAN
Attorney General of Illinois                          s/ Stephanie A. Kevil

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                                CERTIFICATE OF SERVICE
        The undersigned certifies that on September 14, 2018, she electronically filed the foregoing
document with the Clerk of the Court for the United States District Court for the Northern District
of Illinois using the CM/ECF system. Participants in the case who are registered CM/ECF users
will be served by the CM/ECF system.


                                                             /s/Stephanie A. Kevil




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